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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                           : Case No. 12-13689 (SMB)
 In re                                                     :
                                                           :
 AMPAL-AMERICAN ISRAEL CORP.,                              : (Chapter 11)
                                                           :
                                    Debtor.                :
                                                           :
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                 ORDER CONVERTING CHAPTER 11 CASE TO CHAPTER 7
                           AND FOR RELATED RELIEF

          Based upon the hearing held before this Court on May 1, 2013, upon the Court’s order to

show cause issued from the bench at the hearing held on April 16, 2013 (the “OSC”), and upon

the motion of Chapter 11 trustee, Michael Luskin (Dkt. 248), and the Court having considered

the Statement filed by the Official Creditors’ Committee in response to the OSC and the Motion

(Dkt. 255), as well as the Response to the OSC and the Motion filed by Yosef A. Maiman and

the Controlling Shareholders (Dkt. 254), it appearing that appropriate notice has been given, and

cause existing for the relief requested in the Motion, as set forth in the record of the hearing, it is

          ORDERED, that this case commenced under Chapter 11 of the Bankruptcy Code be and

hereby is converted to a case under Chapter 7 pursuant to 11 U.S.C. § 1112(b)(4), and it is

further

          ORDERED, that Michael Luskin, as Chapter 11 trustee of Ampal-American Israel Corp.

(the “Debtor”) shall file (i) a schedule of unpaid debts incurred after the commencement of the

Chapter 11 case within 14 days of the date of this order, and (ii) a final report within 30 days of

the date of this order, pursuant to Federal Rule of Bankruptcy Procedure 1019(5), and it is further




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        ORDERED, that the Order Establishing Procedures for Interim Compensation and

Reimbursement of Expenses for Professionals (Docket No. 151), be and hereby is vacated, and it

is further

        ORDERED, that all Court-approved professionals retained by the Debtor, the Official

Creditors’ Committee, and Michael Luskin, as Chapter 11 trustee, shall file final applications for

allowance of fees and reimbursement of expenses by no later than June 28, 2013.

Dated: New York, New York
       May 2nd, 2013                 /s/ STUART M. BERNSTEIN__________
                                     HONORABLE STUART M. BERNSTEIN
                                     UNITED STATES BANKRUPTCY JUDGE




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